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The Honorable S. Kate Vaughan
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AT SEATTLE
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WESTERN DISTRICT OF WASHINGTON
BY DEPUTY
UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE
UNITED STATES OF AMERICA, CASENO. MJ21-506
Plaintiff, COMPLAINT for VIOLATION
v.
STEVEN CANAN AND JASON
PATRICK,
Defendants.
BEFORE, The Honorable S. Kate Vaughan, United States Magistrate Judge, U.S.

Courthouse, Seattle, Washington.

The undersigned complainant being duly sworn states:

COUNT 1
(Possession of Fentanyl with Intent to Distribute)

On or about September Q, 2021, in King County, within the Western District
of Washington, the defendant, STEVEN CANAN and JASON PATRICK, did
knowingly and intentionally possess, and did aid and abet the possession of, with the
intent to distribute Nphenyl-N-[1-(2 phenylethyl)-4-piperidinyl] propenamide, also
known as fentanyl, a substance controlled under Title 21, United States Code,
Section 812.

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It is further alleged that the offense involved 400 grams or more of a mixture or
substance containing a detectable amount of fentany].

All in violation of Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(A).

The complainant states that this Complaint is based on the following information:

I, SCOTT FUSCO, a Special Agent (SA) with Homeland Security Investigations
(HSI), Seattle, Washington, having been duly sworn on oath, depose and state as follows:

I. INTRODUCTION

1. I am a Special Agent with Homeland Security Investigations (“HSI”)
within the United States Department of Homeland Security (DHS). As a Special Agent, I
investigate violations of the Controlled Substance Act, Title 21, United States Code,
Section 801, et seq., and other violations of federal law. I have been a Special Agent
with HSI since September 2019. I was trained to conduct investigations relating to
violations of federal law including the manufacturing and trafficking of controlled
substances and money laundering through the Criminal Investigator Training Program
and the Homeland Security Investigations Special Agent Training Program at the Federal
Law Enforcement Training Center in Glynco, Georgia. Prior to my employment with
HSI, I worked as a US Customs and Border Protection Officer (CBPO) from 2011-2019.
Working both domestically as well as internationally. Throughout my time as a CBPO, I
have worked counterterrorism, a narcotics enforcement team, as well as a part of an
admissibility enforcement unit.

2. As a federal law enforcement officer, I have received formal training, as
well as extensive on-the-job training, in the investigation of narcotics trafficking. I have
conducted and participated in investigations involving controlled substances, money
laundering, and other criminal activity, including those leading to arrest and prosecution.
As a result of these investigations, I have become familiar with methods and techniques
used by narcotics manufacturers and distributors, persons in possession of narcotics for

purposes of sales and transportation, and persons conspiring to transport and sell

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narcotics. I am also familiar with the methods employed by narcotics traffickers to
conceal their trafficking activity and the origin of proceeds generated by this activity. I
am aware that traffickers use slang and coded words, multiple cell phones, concealed
compartments, “stash” houses to conceal their activities, and launder or otherwise
conceal cash proceeds by hiding and transporting bulk cash, sending funds through wire
transfers or bank accounts in other persons’ names, or investing in assets placed in other
persons’ names. I have also worked and consulted with numerous law enforcement
officers experienced in narcotics and money laundering investigations. As a result, I am
familiar with how money launderers and drug traffickers speak to each other and
generally conduct business. For example, I am aware that money launderers and drug
traffickers discussing criminal matters over the phone often speak in code or in vague
terms. I am also aware that these subjects frequently (1) provide false subscriber
information to the service providers, (2) use phones which are subscribed to under
identities other than their own, and (3) change phones in order to avoid detection by law
enforcement.

3. Because this complaint is submitted for the limited purpose of determining
whether there is probable cause to support the charge contained herein, it does not set
forth each and every fact that I or others have learned during the course of this
investigation.

4, The facts set forth in this Affidavit are based on my own personal
knowledge; information obtained from other individuals during my participation in this
investigation, including other law enforcement officers; review of documents and records
related to this investigation; communications with others who have personal knowledge
of the events and circumstances described herein; and information gained through my
training and experience. The recitation of facts below does not include everything known
to me about this investigation, this crime, or this Defendant. I have only included

sufficient facts necessary to establish probable cause that these Defendants committed the

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crimes charged in this Complaint. Significant additional details have been omitted for the
sake of brevity.
5. Where I have included statements of others, they are set forth in substance

and in part, and are not direct quotations.

Il. SUMMARY OF PROBABLE CAUSE

6. Since approximately April 2021, HSI, the Drug Enforcement
Administration (DEA) and the United States Postal Inspection Service (USPIS) have
been investigating a transnational narcotic smuggling and money laundering organization
involved in the distribution of large amounts of narcotics and laundering of narcotics
proceeds in the Western District of Washington. During the investigation, HSI Agents,
acting in an undercover capacity (UC) were introduced via a third party to Steven
CANAN who was subsequently identified as a member of the organization. During
multiple telephonic and face to face meets with CANAN, HSI undercover special agents
(UCAs), represented to CANAN that they would be interested in purchasing kilogram
level quantities of narcotics from the organization.

7. On or about May 13, 2021, HSI UCAs met with Steven CANAN in the
Western District of Washington. During that meeting, CANAN told the UCAs that his
friend sells “fentanyl” pills at $5.00 a pill. CANAN further stated that his friend acquires
the pills at $3.00 a pill. The UCAs told CANAN that they were also involved in narcotics
smuggling. At the conclusion of the meet, CANAN provided the UCAs with his
telephone number so that they could further negotiate a narcotics transaction.

8. On August 23, 2021, one of the UCAs, hereafter UCA1], sent a text
message to Steven CANAN at the telephone number he provided UCAs on May 13,
2021, to inquire about the purchase of approximately 400 “M30” pills. CANAN
responded to the text and agreed to sell the pills to UCA1. CANAN agreed to meet the
UCAs at the Alderwood Mall in Lynnwood, Washington.

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9. Based on my training and experience, I am aware that legitimately
manufactured oxycodone pills are frequently light blue in color and contain an “M”
stamped on one side, with the number “30” stamped on the other side. I am aware that
counterfeit oxycodone containing fentanyl] sold in the Western District of Washington is
the same size and shape, and possesses the same markings as legitimate oxycodone, but
varies in color and quality. Fentanyl is a synthetic opioid that is 50 times more toxic than
heroin. In its purest form, fentanyl is a white powder, or it can resemble grains similar in
size to table salt. For most people, two to three milligrams of fentany] is capable of
inducing respiratory depression, respiratory arrest, and possibly death.

10. On August 25, 2021, at approximately 12:50 p.m., the UCAs arrived at the
Alderwood Mall to await CANAN’s arrival. At approximately 1:45 p.m. CANAN arrived
at the Alderwood Mall and met with the UCAs in the parking lot. During the meet,
CANAN handed one of the UCAs a black bag which was later found to contain
approximately 400 blue “M30” pills. The UCA then handed CANAN an envelope that
contained two thousand dollars. After the exchange, CANAN and the UCAs then began
conversations regarding narcotics transactions. During the conversation, CANAN offered
to sell the UCAs 100,000 pills and talked about having access to kilogram-quantity
amounts of “Crystal” (methamphetamine), heroin, and cocaine. The UCAs told CANAN
that they could sell CANAN multiple kilograms of cocaine. After the meet concluded,
law enforcement maintained continuous surveillance on CANAN and followed him back
to an apartment complex in Maple Valley, Washington. Following the August 25"
meeting, UCA1 exchanged multiple communications and telephonic messages with
CANAN. During those communications, CANAN advised that he and an associate
wanted to meet prior to any exchange to discuss details of how the narcotics transaction
will take place. This meeting was scheduled for September 8, 2021.

11. During early September 2021, UCA1 exchanged multiple text messages
and telephone calls with CANAN and arranged to meet him on September 8, 2021 to

further discuss CANAN selling the UCAs 100,000 pills. On September 8, 2021 at

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approximately 5:37pm, two HSI UCAs met with CANAN and an unidentified male, later
identified as Jason PATRICK (at the time of his arrest detailed below) at a restaurant in
Lynnwood, Washington. During the meeting, CANAN and PATRICK agreed to provide
the UCAs 100,000 “pills” in exchange for three kilograms of cocaine and currency.
CANAN, PATRICK and the UCAs agreed to conduct the transaction on September 9,
2021. |

12. On September 9, 2021, the UCAs met with CANAN and PATRICK at an
agreed upon location in the Kohls parking lot in Lynnwood, Washington. CANAN
arrived in a Silver Mercedes SUV and PATRICK arrived on a green Harley Davidson
Motorcycle. The Silver Mercedes SUV (WA/US BUH8407) is registered to CANAN and
agents have observed CANAN driving this vehicle throughout the investigation. Upon
meeting with the UCAs, PATRICK shook hands with UCA1 and briefly entered the rear
passenger side of the UCA’s vehicle. PATRICK looked inside a grey Nordstrom bag and
saw two bricks of cocaine and stated to the UCA1 that CANAN will take the product and
he (PATRICK) will take the money.

13. | UCAI then exited the UCAs’ vehicle and got into CANAN’s Silver
Mercedes SUV. On the floor of the passenger seat was a teal bag with pink trim. UCA1
looked in the bag and saw what appeared to be packages of pills. (These pills were
subsequently weighed and presumptively field tested positive for the properties of
fentanyl. The total weight of the pills was approximately 11.30 kilograms inside their
packaging.) CANAN stated for the UCA1 to take the bag as it was his (UCA1). UCA1
then took possession of the bag and exited CANAN’s vehicle and placed the bag inside
the UCA vehicle on the rear driver side. UCA1 informed PATRICK the money was in
another vehicle parked nearby and UCA1 and PATRICK proceeded to walk in that
direction. At this point HSI, agents conducted an arrest of CANAN and PATRICK.

14. | CANAN was advised of his Miranda rights which he waived both orally
and in writing. During the interview that followed, CANAN provided information to

include the following. What follows is a summary of admissions made by CANAN

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regarding his involvement with the September 9, 2021 deal. The following is not meant
to represent a verbatim memorialization of statements, but serves as a summary in
substance and in part. CANAN stated he met with PATRICK before the meeting and
retrieved the pills from PATRICK and placed them in his vehicle (CANAN’s silver
Mercedes). CANAN stated he is pretty sure the pills contain fentanyl. He stated he does
his own research and fentanyl is the only drug there is that is easily made into mass
quantities. CANAN stated he did not take part of the planning to obtain the large quantity
of pills, but he did retrieve the pills from PATRICK. CANAN also admitted to having
heroin and methamphetamine inside his apartment. CANAN provided agents written
consent to search for and retrieve the heroin and methamphetamine. This search resulted
in the discovery of approximately 749.3 grams of heroin (gross weight in packaging) and
approximately 893.3 grams of methamphetamines (gross weight in packaging). The
narcotics presumptively field tested positive for the properties of heroin and
methamphetamines respectively.

15. PATRICK was advised of his Miranda rights which he waived both orally
and in writing. During the interview that followed, PATRICK provided information to
include the following. What follows is a summary of admissions made by PATRICK
regarding his involvement with the September 9, 2021 deal. The following is not meant
to represent a verbatim memorialization of statements, but serves as a summary in
substance and in part. PATRICK stated CANAN hired him to be “big and scary.” An
agent asked PATRICK if he was hired as “Muscle” for a narcotics deal and he responded
in the affirmative that he was. PATRICK stated CANAN was supposed to pay him $2000
for assisting him and that he was supposed to pick up a bag of money on the deal that
took place on September 9, 2021.

16. The pills purchased from CANAN on August 25, 2021, and seized from
CANAN and PATRICK on September 9, 2021, resemble M-30 Oxycodone according to
the drug identifier Drugs.com, as they are blue in color, round in shape and stamped with

the marking M-30. Based on CANAN’s statements to UCAs in which he stated that the

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pills contain “Fentanyl,” as well as my experience of seeing these pills inundating the
Western District of Washington in other investigations, I believe the pills seized on
August 25, 2021, and September 9, 2021 are not legitimate pharmaceutical pills but are
fentanyl-based.
CONCLUSION
17. Based on the above facts, I respectfully submit that there is probable cause
to believe that Steven CANAN and Jason PATRICK, committed the offense of

Possession of Fentanyl with Intent to Distribute, in violation of Title 21, United States

Code, Sections 841(a)(1) and 841(b)(1)(A).

Scott Fusco
Special Agent, HSI

 

Based on the above-named Complainant having provided a sworn statement
attesting to the truth of the foregoing Affidavit this 10th day of September, the Court
hereby finds that there is probable cause to believe the Defendant committed the offenses

set forth in the Complaint.

DATED this 10th day of September 2021

Man /drom

The Honorable S. Kate Vaughan
United States Magistrate Judge

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